                     Case 24-01183           Doc 1       Filed 01/29/24 Entered 01/29/24 15:50:45                              Desc Main
                                                           Document     Page 1 of 10

Fill in this information to identify your case:


United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Unique Fitness Concepts , LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  276 Noble Circle
                                  Vernon Hills, IL 60061
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Lake                                                            Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                    Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                       Partnership (excluding LLP)
                                       Other. Specify:




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                   Case 24-01183                 Doc 1      Filed 01/29/24 Entered 01/29/24 15:50:45                                    Desc Main
                                                              Document     Page 2 of 10
Debtor    Unique Fitness Concepts , LLC                                                                Case number (if known)
          Name


7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the                Chapter 7
     debtor filing?
                                           Chapter 9
     A debtor who is a “small
                                           Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     a “small business debtor”)                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     must check the second                                       debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
     sub-box.                                                    proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against            Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number

10. Are any bankruptcy cases              No
    pending or being filed by a           Yes.
    business partner or an
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                     Relationship
                                                 District                                 When                              Case number, if known

 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
                 Case 24-01183               Doc 1        Filed 01/29/24 Entered 01/29/24 15:50:45                                 Desc Main
                                                            Document     Page 3 of 10
Debtor   Unique Fitness Concepts , LLC                                                             Case number (if known)
         Name




11. Why is the case filed in    Check all that apply:
    this district?                       Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any          Yes.
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion

16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                     $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                More than $50 billion




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                 Case 24-01183               Doc 1       Filed 01/29/24 Entered 01/29/24 15:50:45                                Desc Main
                                                           Document     Page 4 of 10
Debtor   Unique Fitness Concepts , LLC                                                             Case number (if known)
         Name



         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on        January 29, 2024
                                                  MM / DD / YYYY


                             X /s/       Harvey Reich                                                      Harvey Reich
                                 Signature of authorized representative of debtor                         Printed name

                                 Title    President




18. Signature of attorney    X /s/ Nathan E. Delman                                                        Date    January 29, 2024
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 Nathan E. Delman
                                 Printed name

                                 Horwood Marcus         Berk Chartered
                                 Firm name

                                 500 W Madison St Suite 3700
                                 Chicago, IL 60661
                                 Number, Street, City, State & ZIP Code


                                 Contact phone                                   Email address      ndelman@hmblaw.com


                                 Bar number and State




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 4
Case 24-01183   Doc 1   Filed 01/29/24 Entered 01/29/24 15:50:45   Desc Main
                          Document     Page 5 of 10
Case 24-01183   Doc 1   Filed 01/29/24 Entered 01/29/24 15:50:45   Desc Main
                          Document     Page 6 of 10


                         Amazon Prime Lending Inc
                         3818 S. Broadway St.
                         Los Angeles, CA 90037


                         Bankers Healthcare Group, LLC
                         3700 Lakeside Dr.
                         Miramar, FL 33027-3264


                         BMO Bank N.A.
                         111 W. Monroe St. 5 East
                         Chicago, IL 60603


                         Carlson Dash, LLC
                         216 S. Jefferson St. Suite 303
                         Chicago, IL 60661


                         Chicago Infill Industrial Properties LP
                         4 Embarcadero Ctr. Suite 814
                         San Francisco, CA 94111


                         Chris S. Wunder
                         180 N. LaSalle St. Suite 2108
                         Chicago, IL 60601


                         Christopher J. Cali
                         201 Solar St.
                         Syracuse, NY 13204


                         Cloudfund LLC
                         400 Rella Blvd. Suite 165-101
                         Suffern, NY 10901


                         Corporation Service Company
                         300 Deschutes Way SW Suite 304
                         Ravensdale, WA 98051


                         Fundation Group, LLC
                         11501 Sunset Hills Road Suite 100
                         Reston, VA 20190


                         Goldman Sachs Bank USA
                         222 South Main Street
                         Salt Lake City, UT 84101


                         Harvey Reich
                         276 Noble Circle
                         Vernon Hills, IL 60061


                         Invacare Corp.
                         One Invacare Way
                         Elyria, OH 44035


                         Kapitus Servicing, Inc.
                         2500 Wilson Blvd. Suite 350
                         Arlington, VA 22201
Case 24-01183   Doc 1   Filed 01/29/24 Entered 01/29/24 15:50:45   Desc Main
                          Document     Page 7 of 10


                         Lori Reich
                         276 Noble Circle
                         Vernon Hills, IL 60061


                         Medline Industries, LP
                         Three Lakes Dr.
                         Winnetka, IL 60093


                         Nguyen | Ballato
                         2201 Libbie Ave.
                         Richmond, VA 23230


                         Rocket Capital NY LLC
                         7288 Hanover Green Dr. Ste A
                         Mechanicsville, VA 23111-1709


                         The CKB Firm
                         30 North LaSalle St. Suite 1520
                         Chicago, IL 60602


                         The Klein Firm LLC
                         1820 Swarthmore Ave #714
                         Lakewood, NJ 08701


                         Wagento Creative LLC
                         5721 Merle Hay Rd Suite 22
                         Johnston, IA 50131-3300
Case 24-01183   Doc 1   Filed 01/29/24 Entered 01/29/24 15:50:45    Desc Main
                          Document     Page 8 of 10




                                                               21
                      Case 24-01183                    Doc 1         Filed 01/29/24 Entered 01/29/24 15:50:45                                      Desc Main
                                                                       Document     Page 9 of 10

 Fill in this information to identify the case:
 Debtor name Unique Fitness Concepts , LLC
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF ILLINOIS                                                                                Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Amazon Prime                                                   Loan                                                                                                    $150,000.00
 Lending Inc
 3818 S. Broadway St.
 Los Angeles, CA
 90037
 Bankers Healthcare                                             Loan                                                                                                      $94,343.04
 Group, LLC
 3700 Lakeside Dr.
 Miramar, FL
 33027-3264
 BMO Bank N.A.                                                  Business Line of                                                                                          $36,320.65
 111 W. Monroe St.                                              Credit
 5 East
 Chicago, IL 60603
 Chicago Infill                                                 Eviction Judgment                                                                                         $58,131.09
 Industrial Properties
 LP
 4 Embarcadero Ctr.
 Suite 814
 San Francisco, CA
 94111
 Cloudfund LLC                                                  Loan                                                                                                    $108,000.00
 400 Rella Blvd.
 Suite 165-101
 Suffern, NY 10901
 Fundation Group,                                               Business Line of                                                                                          $47,000.00
 LLC                                                            Credit
 11501 Sunset Hills
 Road
 Suite 100
 Reston, VA 20190
 Goldman Sachs Bank                                             Business Line of                                                                                        $125,000.00
 USA                                                            Credit
 222 South Main
 Street
 Salt Lake City, UT
 84101


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
                      Case 24-01183                    Doc 1         Filed 01/29/24 Entered 01/29/24 15:50:45                                      Desc Main
                                                                      Document     Page 10 of 10


 Debtor    Unique Fitness Concepts , LLC                                                                      Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Invacare Corp.                                                 Trade debt                                                                                                $10,946.70
 One Invacare Way
 Elyria, OH 44035
 Kapitus Servicing,                                             Loan                                                                                                    $324,978.12
 Inc.
 2500 Wilson Blvd.
 Suite 350
 Arlington, VA 22201
 Medline Industries,                                            Trade debt                                                                                                $75,000.00
 LP
 Three Lakes Dr.
 Winnetka, IL 60093
 Rocket Capital NY                                              Loan                                                                                                      $35,000.00
 LLC
 7288 Hanover Green
 Dr.
 Ste A
 Mechanicsville, VA
 23111-1709
 Wagento Creative                                               Website Services                                                                                          $15,000.00
 LLC
 5721 Merle Hay Rd
 Suite 22
 Johnston, IA
 50131-3300




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
